
In re Prudential Insurance; — Defendant; Applying for Supervisory and/or Remedial Writ; Parish of Iberia 16th Judicial District Court Div. “C” No. 85177-C; to the Court of Appeal, Third Circuit, No. CW98-0499.
Granted in part. Plaintiffs daughter is not one of the classes of persons under La.Civ.Code art. 2315.6 who may recover mental anguish damages for the injury to another. Accordingly, insofar as plaintiff attempts to recover damages other than those arising from her own mental anguish caused by the accident, the partial exception of no right of action is hereby granted. Case remanded to the trial court for further proceedings.
KNOLL, J. not on panel.
